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                                                     Fillmore Heritage Center
                                                    RFP Response assessment

Proposer: The Fillmore Collective (Santino DeRose, John Litz)
Concept: Proposes operating the former restaurant as a new restaurant by the proposer. The interest is for 1300 on Fillmore to
remain. The performance venue may be operated by a nationally-known operator. The gallery will show local art and the
screening room will feature community film events.
Signed Partners/Letters of Intent: None

Strengths
        *         Strong restaurant and real estate experience
        *         Familiarity with Yoshi's space, having managed it recently from a loss to breakeven
        *         community development experience in SF (826 Valencia in TL, Harding Theater, Warfield hotel)
Concerns
        *        thin proposal (partners left unnamed, operating projections not provided)
        *        leaves the entertainment venue as is
        *        undefined community benefit ("We plan on having potential popup opportunities to
                  support small business")
Judgment: Demonstrated real estate and restaurant capacity. Ask City essentially to believe in it, however. Operating plan and
community benefit inadequately demonstrated.

                                  Soft commitment /expression of interest from commercial lender; revenue in a 1031 Exchange;
Source of Funds:                  equity investors.
Outstanding City obligations:     None
Demonstrated ability to access capital by September 2017? Yes
sources                                                           uses
bank loan                                  5,500,000               acquisition                                       6,500,000
1031 proceeds                              2,600,000               closing costs                                       100,000
owner equity                               1,800,000               A&E                                                 280,000
investor equity                              600,000               tenant improvements                               2,850,000
                                                                   liquor license                                      270,000
                                                                   carrying costs                                      500,000
                          total           10,500,000                              total                             10,500,000
                                                                                                                           -
Community Benefit Summary
The Collective says they know the space, having managed the restaurant, and know the neighborhood, one of the principals
living close by, but they don’t spell out how community will benefit other than by activation of the space. Their clarity is
appreciated, given that they name several community players as partners to solicit, and have demonstrated real estate
community development expertise, but additional work on this Fillmore project prior to the Proposal submission would have
been welcome.

Suggested Follow Up Questions
       1         Who is the $7 billion market cap venue operator?
       2         How do you propose to use the existing restaurant space without significant change in use
                 and make it profitable?
       3         What will you do with extensive rehab to reposition the space?

Operating assumptions             none provided
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                                                 Fillmore Heritage Center
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Proposer: Fillmore Entertainment Complex (Agonafer Shiferaw)
Concept: Proposes food hall with three smaller restaurants and for the lounge to become a blues lounge. The interest is
for 1300 on Fillmore to remain. The commercial lobby will include a sports bar. The performance venue may be operated
by a nationally-known operator. The gallery will be a concept store and bookstore, the screening room to be used for
community events, and the offices used for nonprofit space. There will be artisan and small business kiosks on the
sidewalks.
Signed Partners/Letters of Intent: None

Strengths
            *        Strong jazz venue and Fillmore business experience
            *        inventive and use-diverse project plan, with three restaurants and associated businesses
            *        community engagement is significant
Concerns
            *        weak personal credit rating
            *        questionable financial projections and commitment of debt
            *        Team is diverse and representative, e.g., Barcelon & Jang, but its Mr Shiferaw's concept
                     and direction, with slim applicable dvelopment experience
Judgment: Strong community basis and jazz venue and promotional experience. Although cash strong, at 1m+ in liquidity,
recent bankruptcy still carries with it outstanding debt obligations. Financing is questionable, and thus the success of the
plan as well.

                          Soft commitment/expression of interest from mortgage broker which requires executed LOI’s to
Source of Funds:
                          ensure no vacancies in the building prior to a lending commitment.
Outstanding City Obligations: $1,256,000 owed to the City with a spotty payment history
Demonstrated ability to access capital by September 2017? No
sources                                                             uses
bank loan                                        5,000,000           acquisition                                 6,500,000
owner equity                                     1,661,000           tenant improvements                           800,000
tenant investor equity                           1,500,000           debt service                                  265,000
                                                                     taxes                                          77,000
                                                                     insurance                                     113,000
                                                                     utilities                                     104,000
                                                                     HOA dues/CAM                                   80,500
                                                                     management, maintenance                       161,000
                                                                     parking                                        60,500
                         total                   8,161,000                                       total           8,161,000

Community Benefit Summary
Significant community connection, with Fillmore-specific and African American foundations. Diverse media--film, gallery
art, and music, as well as food--represented well, with commitments from participants in place. Claims 300 jobs created.




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Suggested Follow Up Questions
        1          How are you going to get a loan?
        2          Who are your likely tenants--and therefore, as you describe, your investors?
        3          Please describe your sources of income from the project.

Operating assumptions
                   Income
                       commercial rent                             1,250,000
                   Expense
                        taxes                                           NNN
                        insurance                                       NNN
                        utilities                                     37,000
                        HOA/CAM                                       60,500
                        parking                                       78,000
                        management, maint                            197,000
                   Net Operating Income                              914,500
                        debt service                                 365,000
                   CFL                                               549,500

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Proposer: FHC2017 (Tim Shelton)
Concept: Proposes turning the former restaurant into a commercial test kitchen for independent chefs and
small food businesses that also hosts special food-related events and classes. There is an MOU with 1300 on
Fillmore to remain. The commercial lobby will include a café and book store kiosk. The performance venue will
feature supper club and dining/entertainment events approximately 1 night per week, with remaining program
of the performance venue and screening room managed by a nonprofit arts organization. The gallery will be
leased to a neighborhood CBO.

Signed Partners/Letters of Intent: Food for Soul for 1300 on Fillmore with purchase option; Minnie Bells Soul
Movement for café; African American Chamber of Commerce for office space in gallery with purchase option;
USF for student programming; Marcus Books for kiosk

Strengths
       *         Strong business plan, staffed with experienced team
       *         Deep expression of community engagement. Good partners identified and
                 experienced development team, with neighborhood and Af-Am representation.
       *         No credit risk
Concerns
       *         No other financial partners. This is truly Tim Shelton's deal.
Judgment: Well reasoned, supported, and presented project plan, with no financing risk. All ownership other
than Shelton's is virtual. How he manages those relationships and community engagements is key. It appears to
be off to a good start.

Source of Funds: Self-funded $6.5M purchase price, $2M in building improvements, and $1.5M in operating
expenses in the first 18 months
Outstanding City obligations: None
Demonstrated ability to access capital by September 2017? Yes

sources                                                  uses
Shelton equity                     10,000,000            acquisition                                 6,500,000
                                                         construction costs                          1,720,000
                                                         A&E                                           200,000
                                                         entitlement                                    80,000
                                                         operating reserves                          1,500,000
                                                         misc.
                        total      10,000,000                                     total             10,000,000




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Community Benefit Summary
Significant community connections, with Fillmore-specific and African American foundations. Diverse media--
film, gallery art, and music, as well as food--represented well, with commitments from participants in place. The
central concept of The Foundry is both the money maker and creative center of the development.

Suggested Follow Up Questions
       1        Please describe your partner relationships, esp. wrt management.
                How does the Foundry kitchen work? Who manages the music venue?
       2        How do proposed tenants exemplify your community development vision?
                Do any of enterprises subsidize the others?
       3        Why do you choose not to seek out 3rd party financing, proposing to finance
                the project entirely with your own funds?

Operating assumptions
                                                                  yr1                            yr2
                 Income
                     Fill PAC                                       2,442,200                           4,961,280
                     Foundry                                          547,670                             815,340
                     Parking Lot                                      380,000                             480,000
                     1300                                              92,800                             139,200
                     USF                                               40,000                              60,000
                     Film Café                                         12,800                              19,200
                     Marcus Books                                       6,400                               9,600
                     SFAACC                                            12,800                              19,200
                     Total                                          3,534,670                           6,503,820
                 COGS and direct expr                              (1,816,109)                         (3,689,388)
                 Gross margin                                       1,718,561                           2,814,432
                 Expense
                     staff                                           625,000                          646,000
                     benefits                                        125,000                          129,200
                     HOA                                             264,000                          264,000
                     Maint and Jan                                   120,000                          120,000
                     Insurance                                       100,000                          100,000
                     utilities                                       230,000                          230,000
                     other                                           257,000                          257,000
                     total                                         1,721,000                       1,746,200
                 NOI                                                  (2,439)                      1,068,232
                 d/s                                                     -                                -
                 Cfl                                                  (2,439)                      1,068,232
                                                                                 WESSINGTON|ventures, llc



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                                                  Fillmore Heritage Center
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Proposer: Fillmore Heritage Partners (Planted Concepts)
Concept: Proposes turning the former restaurant into a pop-up space for local and mobile food entrepreneurs, as well as
event rentals. There is an MOU for 1300 on Fillmore to remain. The performance venue will be programmed nightly and
available for daytime rentals. The screening room and gallery will show local art and be available for rentals.
Signed Partners/Letters of Intent: Food for Soul for 1300 on Fillmore with purchase option

Strengths
            *          strong project management skills and capacity of team
            *          inventive and use-diverse project plan. The test kitchen concept
                       is currently fashionable.
            *          diverse nonprofit daytime function and night time revenue mix
Concerns
            *          planted concepts suggests it might change the use in 3 yrs.
            *          altho the team is experienced, its experience is not that applicable wrt urban
                       mixed use commercial development
Judgment: Strong community basis, coupled with jazz venue and promotional experience. While unknown nature of future
use is a concern, the plan does demonstrate the project can get up and running, with well-funded reserves and strong
financial capacity of the team and its investors

Source of Funds: Planted Concepts and investor Jay Hagglund
Outstanding City obligations: None
Demonstrated ability to access capital by September 2017? Yes

sources                                                          uses
jay hagglund                                   9,000,000         acquisition                                    7,000,000
planted concepts                                 796,871         exterior hard costs                               84,949
                                                                 lobby improvements                               103,500
                                                                 resto tenant imprvmnts                           237,022
                                                                 stage enhancements                               131,400
                                                                 screening room upfit                              30,000
                                                                 gallery and garage                                65,000
                                                                 architects & engineers                           105,000
                                                                 Operating Reserves                             2,040,000
                           total               9,796,871                                  total                 9,796,871

Community Benefit Summary
The spirit of the Fillmore is well represented , with a diverse range of uses and community engagements. The team, which is
mostly African American, has a diverse background in project management and music promotion, albeit little direct
experience in a community based project such as is proposed here.

Suggested Follow Up Question
         1           Please clarify your plans for future use of the site. Do you plan to convert it
                     to a cannabis related use in three years?



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                                              Fillmore Heritage Center
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Operating assumptions
                                             (consolidates)         yr1                                yr2
                    Income
                         food                                            1,087,000                            2,045,000
                         all beverage                                      627,000                            1,861,000
                         tickets membership fees                         5,709,566                            9,122,000
                         food prep                                          38,807                               48,857
                    total sales                                          7,462,373                           13,076,857
                    COGS
                         food                                              248,000                              468,000
                         all beverage                                      481,000                              903,000
                         tickets membership fees                         4,089,000                            6,525,000
                         resto events                                        3,911                                3,922
                    total cogs                                           4,821,911                            7,899,922
                    Gross margin                                         2,640,462                            5,176,935
                    Labor
                         kitchen/food svc                                  995,000                            1,259,000
                         office/mgt                                        635,000                              728,000
                         entertainment                                     276,000                              355,000
                         benefits                                          610,000                              755,000
                    total labor                                          2,516,000                            3,097,000
                    controllable                                           579,000                              694,000
                    uncontrollables                                        231,000                              328,000
                    ebitda                                                (685,538)                           1,057,935
                    dep                                                    295,000                              295,000
                    profit                                                (980,538)                             762,935
                    interest                                                95,000                               95,000
                    principals
                    taxes
                    net income                                           (1,075,538)                              667,935
                    cash flow                                              (780,538)                              962,935
                                                                                       WESSINGTON|ventures, llc




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Proposer: San Francisco Housing Development Corporation (SFHDC)
Concept: Proposes dividing former restaurant into an anchor restaurant and a multi-tenant food court, with a
café on the mezzanine. There is an MOU with 1300 on Fillmore to remain. The performance venue will be
programmed with performances at night and education classes/workshops during the day, as well as
rehearsal/recording studio when not otherwise in use. The gallery and screening room will be managed by
neighborhood CBOs, and the offices used for additional nonprofit space. Commercial lobby to be leased to small
local vendors.
Signed Partners/Letters of Intent: Food for Soul for 1300 on Fillmore with purchase option; Minnie Bells Soul
Movement for café; La Cocina for food service coordinator (if SFHDC pays); New Community Leadership
Foundation for screening room;

Strengths
       *       Businesslike approach, staffed with experienced team, and multiple community partners
       *       Deep expression of community engagement, from an organization that has been active
               in SF community development for many years
Concerns
      *        Presents credit risk. While there are good expressions of interest,
               all proposed financing is speculative.
      *        Experienced housing developer; inexperienced commercial developer
Judgment: Strong community engagement, innovative operating structure, sophisticated financing approach--
with no funds committed at time of proposal submission.

Source of Funds: Proposed loans from LISC and NCCLF and New Markets Tax Credits; undefined grants; no hard
financial commitments
Outstanding City Obligations
SFHDC has 14 outstanding multifamily housing loans with MOHCD. None of the loans are delinquent and
the loans generally only require minimal payments as long as the applicable properties remain dedicated
 to their affordable housing use.
                              loan funded amount         outstanding loan balance
    MOHCD loans                  $5,415,065.00                      $5,409,949.30
    Transferred from SFRA       $14,382,481.83                     $14,381,765.05
    Total Loans to SFHDC        $19,797,546.83                     $19,791,714.35
Demonstrated ability to access capital by September 2017? No




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Sources                                                   Uses
cdfi debt                              6,244,945          acquisition                              6,500,000
NMTC equity                            3,055,435          utils during const                          35,000
other equity                             500,000          const costs                                850,000
                                                          FF&E                                       100,000
                                                          survey                                      12,000
                                                          const cntgcy                                42,500
                                                          A&E                                        100,000
                                                          C.N.A                                        9,000
                                                          inspections                                 15,000
                                                          licenses, permits                           30,000
                                                          appraisal                                   10,000
                                                          legal                                      125,000
                                                          taxes during const                          43,000
                                                          marketing                                   37,500
                                                          CAM during const                           140,640
                                                          other soft costs                            50,000
                                                          soft cost cntgcy                            14,700
                                                          financing costs                             75,000
                                                          const per interest                         111,605
                                                          capitalized op resrv                       400,000
                                                          capitalized repl resrv                     200,000
                                                          const mgt fee                               85,000
                                                          project admin fee                          120,000
                                                          CDE placement fee                          244,435
                                                          asset mgt fee                              250,000
                                                          fund expenses                              125,000
                                                          audit                                       75,000
                      total            9,800,380                                    total          9,800,380
Community Benefit Summary
Deep community connection, with Fillmore-specific and African American foundations, based on years of
community work in the City. Multiple nonprofit uses as well as for-profit aspects. New Community Leadership
Foundation plays significant role.

Suggested Follow Up Questions
      1        Please describe the role of the New Community Leadership Foundation
      2        Please describe the role of La Cocina and food service incubation
      3        Please describe the likelihood of receiving NMTC allocation for the project




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Operating assumptions
                                                               yr1                              yr2
              Income
                     anchor resto                                      114,950                       118,399
                     bar and lounge                                    100,320                       103,330
                     1300 Fillmore                                     122,400                           -
                     parking garage                                    270,000                       278,100
                     café                                               16,500                        16,995
                     food court                                         36,000                        45,320
                     venue rental                                      134,375                       154,500
                     media company                                      18,000                        18,540
                     rehearsal and recording space                      39,875                        61,849
                     gift shop                                          10,800                        13,596
                     gallery                                            12,240                        12,607
                     screening room                                     12,960                        13,349
                     office cubicles                                    12,000                        12,360
                     kitchen catering                                   18,000                        18,540
                     total                                             918,420                       867,485
              common area maintenance fees                             399,288                       431,472
              performance venue ticket sales                           971,480                     2,156,340
              memberships                                               57,647                       162,801
              commissions                                               92,338                       204,260
              fundraising                                              243,822                        21,713
                                 TOTAL REVENUE                       2,682,995                     3,844,071
              cost of goods sold (venue tickets)                       120,784                       212,661
              labor-employees
                     gross                                             443,333                       460,000
                     benefits                                          110,833                       115,000
                     overhead                                           51,250                        57,500
                     total                                             605,416                       632,500
              Contractors                                              295,600                       466,440
              performer fees                                           596,500                       839,460
              controllables                                            210,597                       284,783
              overhead                                                 873,292                       844,272
              carryovers                                               221,008                           -
              GROSS REVENUE                                          2,682,995                     3,844,071
              NET EXPENSE                                            2,923,197                     3,280,116
              NET INCOME                                              (240,202)                      563,955
                                                                                  WESSINGTON|ventures, llc




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